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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                             )   Chapter 11
 In re:                                                      )
                                                             )   Case No. 22-11068 (JTD)
 FTX TRADING LTD., et al.,1                                  )
                                                             )   (Lead Case)
                                     Debtors.                )
                                                             )   (Jointly Administered)
                                                             )

                   ORDER EXPEDITING HEARING
        AND SHORTENING OBJECTION AND NOTICE PERIOD WITH
   RESPECT TO EMERGENT DEBTOR’S MOTION FOR ENTRY OF AN ORDER
  APPROVING POSTPETITION FINANCING AND GRANTING RELATED RELIEF

           Upon consideration of the motion of Emergent Fidelity Technologies Ltd, as debtor and

debtor in possession in Case No. 23-10149 (JTD), for entry of an order shortening the time (the

“Motion to Shorten”) for notice to consider Emergent Debtor’s Motion for Entry of an Order

Approving Postpetition Financing and Granting Related Relief (the “DIP Motion);2 and the Court

having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and the Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2), and the Court may enter a final order consistent with Article III of the United States

Constitution; and the Court having found that venue of this proceeding and this Motion to Shorten

in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; pursuant to Rule 9006-1(e) of the



1 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit
3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2 All capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion to
Shorten.
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Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware; and the Court having determined that granting the relief requested in the

Motion to Shorten is appropriate; and it appearing that due and adequate notice of the Motion to

Shorten has been given under the circumstances, and that no other or further notice need be given;

and after due deliberation and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Motion to Shorten is GRANTED with respect to the DIP Motion.

       2.      The DIP Motion shall be heard at the hearing on October 19, 2023, at

10:00 a.m. (ET).

       3.      Objections to the relief requested in the DIP Motion, if any, may be made orally at

the hearing, and any written responses and objections may be filed at any time prior to the hearing.

       4.      The Court shall retain jurisdiction with respect to all matters arising from or related

to implementation or interpretation of this Order.




        Dated: October 10th, 2023                         JOHN T. DORSEY
        Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




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